Case 2:22-cv-14102-DMM Document 71 Entered on FLSD Docket 04/22/2022 Page 1 of 1




                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA
                                  FORT PIERCE DIVISION

                            CASE NO. 22-cv-14102-MIDDLEBROOKS


  DONALD J. TRUMP,

          Plaintiff,

                  v.

  HILLARY R. CLINTON, et al.,

          Defendants.


                                     NOTICE OF APPEARANCE

         PLEASE TAKE NOTICE that Adam S. Fels, Esquire, on behalf of Fridman Fels & Soto,

  PLLC, hereby files this Notice of Appearance as counsel of record on behalf of the following parties

  in this action: FUSION GPS, GLENN SIMPSON, and PETER FRITSCH, and requests that the

  undersigned be served with copies of all pleadings, notices, motions, orders and other documents filed

  in these proceedings to his email address: afels@ffslawfirm.com.


                                                        Respectfully submitted,

                                                        /s/ Adam S. Fels
                                                        ADAM S. FELS
                                                        Florida Bar No. 0114917
                                                        afels@ffslawfirm.com

                                                        FRIDMAN FELS & SOTO, PLLC
                                                        2525 Ponce De Leon Blvd., Ste. 750
                                                        Coral Gables, FL 33134
                                                        Tel: (305) 569-7701

                                                        Counsel for FUSION GPS, GLENN
                                                        SIMPSON, and PETER FRITSCH



                             FRIDMAN FELS & SOTO, PLLC
   2525 PONCE DE LEON BOULEVARD, SUITE 750 | CORAL GABLES, FLORIDA 33134 | 305-569-7701
